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UNITED STATES DISTRICT COURT
FOR THIS DISTRICT OF WYOMING
CASE NO. 13CV118-S

DEPOSITION OF RICHARD E. GILLESPIE

TIMOTHY MELLON,
a Wyoming resident,

Plaintiff,
vs.
THE INTERNATIONAL GROUP
FOR HISTORIC AIRCRAFT RECOVERY,
a Delaware non-profit corporation;

and RICHARD E. GILLESPIE,

Defendants.

152 North Durbin Street,

Casper, Wyoming

Tuesday, April 1,

PURSUANT TO NOTICE, the deposition of
RICHARD E. GILLESPIE was taken in accordance with the
applicable Wyoming Rules of Civil Procedure at 152

North Durbin Street, Suite 220, Casper, Wyoming,

commencing at the hour of 8:30 a.m

April 2014, before me, Janet K. Jamieson, a Certified

Court Reporter and Notary Public of the State of

Wyoming.

., the ist day of

Suite 220

2014

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5 7

1 PROCEEDINGS 1 based on the available evidence.

2 RICHARD E. GILLESPIE, 2 Q. And what about materials or items in the

3. called for examination by the Plaintiff, being first 3. water, have you found any items in the water that you

4 duly sworn, on his oath testified as follows: 4 believe are consistent with the Earhart Electra?

5 EXAMINATION 5 A. Not in my opinion, no.

6 BY MR. STUBSON: 6 Q. Have you reviewed the expert reports that

7 Q. Mr. Gillespie, can you state your full name 7 were filed in this case?

8 and spell your last name for the record, please? 8 A. Yes, I have.

9 A. Sure. My name is Richard Ellsworth Gillespie, 9 Q. Have those had any impact on your opinions
10 and my Iast name is spelled GILLESPIE. 10 with respect to whether there is wreckage consistent
11 Q. Okay. And we've, of course, met a couple 11.) with the Earhart Electra near Nikumaroro?
12. times before; but just for the record, I'm Tim 12 A. Yes.
13. Stubson. I'm representing Mr. Mellon in this action 13 Q. In what way?
14 and appearing on his behalf today. 14 A. They reinforced my opinion that no wreckage
15 And you were in attendance at Mr. Mellon's 15 has been identified.
16 deposition yesterday? 16 Q. And.how have they done that?
17 A. Yes, I was. 17 A. I haven't seen anything in the expert
18 Q. Okay. Just -- I won't go through the full 18 reports that seems like a valid identification of
19 gamut of instructions, I know your Counsel has 19 anything, except possibly the rope. And I agree with
20 covered those things with you, but just a couple 20 «the identification of the rope.
21 ~=reminders as we get started. One is if you need a 21 Q. Okay. And you do not agree with any other
22 break at any time today, just let me know and we can 22 ~~ identification found in those reports?
23 dothat. If there is a question pending, I'm going 23 A. That's correct.
24 to ask you to answer the pending question before we 24 Q. Do you disagree at all with the methodology
25 take a break, but we can take a break at any time. 25 utilized in the reports?

6 8

1 And then the other significant thing, the 1 A. Yes, I do.

2. other important thing is if you don't understand one 2 Q. And how so?

3. of my questions, please ask me to rephrase it or let 3 A. I don't think it follows the scientific

4 me know that you don't understand it. Because 4 method.

5 otherwise, I'm going to assume that you have 5 Q. In what way? -

6  understanded it -- understood it and have answered it 6 A. There is no -- well, first, I should back up

7 appropriately, okay? 7 and describe scientific method, being gathering

8 A. Right. 8 information, forming a hypothesis, and testing the

9 Q. The -- what have you reviewed in preparation 9 hypothesis.
10 for your deposition today? 10 The methodology used here was to identify --
11 A. Nothing in particular. 11 it appears to me, from reading the reports, it
12 Q. Okay, no documents? 12 appears to me that Mr. Mellon's experts tried to
13 A. No. 13 match shapes of known components of the Electra
14 Q. Okay. Where are you currently employed? 14 airplane to shapes in the coral without any reliable
15 A. Iam the executive director of TIGHAR, The 15 information about the scale. Anybody can do that.
16 International Group for Historic Aircraft Recovery. 16 You can make a drawing, a CAD drawing, that you can
17 Q. Okay. Do you believe TIGHAR has found the 17 twist around and scale any way you want to and then
18 wreckage of the Earhart Electra near Nikumaroro 18 try to shape it -- try to fit it to an underwater
19 Island? 19 shape and say, well, there it is. It's just not
20 A. No. 20 valid. There's -- there's no -- there's no scale.
21 Q. Okay. Do you believe that TIGHAR has found 21 There is no way to know that what you're looking at
22 wreckage consistent with the Earhart Electra near 22. ~is anything like what you're saying it is.
23 =Nikumaroro Island? 23 Q. In conducting the underwater search in 2010
24 A. We have artifacts we found on land that we 24 -- well, let me back up.
25 believe appear -- no, we believe are consistent, 25 So in analyzing any of the images underwater

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1 from either of the searches, 2010 or 2012, do you 1 QQ. -- is that correct?
2 believe scale is important? 2 A. Yeah.
3 A. Scale is very important. Of course, it is. 3 Q. Were there any occasion where the claw was
4 Q. Would you describe it as critical to 4 utilized to determine scale --
5 identifying items? 5 A. Yeah --
6 A. To identifying items, yes. 6 Q. -- of an item?
7 Q. Did -- what did TIGHAR do in order to ensure 7 A. -- there were. I remember Wolfgang
8 that it could determine scale during the 2010 8 extending the claw and opening It up and holding it
9 expedition? 9 upto something, but I don't remember the specifics
10 A. The ROV had a claw on it that could be -- of 10 of what that object -- whatever it was, we decided it
11. known dimensions, that could be held up to objects 11. wasn't anything important.
12 that we were interested in. 12 Q. And did it involve any sort of official
13 Q. Was the claw ever utilized in that manner in 13. calculations, or anything, comparing the dimensions
14 2010? 14 of the claw with the scale of what the object was?
15 A. No. 15 A. Well, we knew the dimensions of the claw,
16 Q. Was there anything else that you had 16 and he held the claw up to whatever it was we were
17 available to you to determine scale as part of the 17 looking at and he said, oh, that's so many inches.
18 2010 expedition? 18 Q. Are you aware that there are standard
19 A. Not that I recall, no. 19 methods out there for determining scale as part of
20 Q. And what about the 2012, was there anything 20 search and salvage operations?
21. ~— utilized to determine scale in the 2012 expedition? 21 A. Yes, I understand that.
22 A. Same technique. The ROV had a claw of known | 22 Q. And what are some of those methods?
23 dimensions that could be held up. 23 A. I believe there's a laser rangefinder. Asa
24 Q. And was the claw utilized in that manner. at 24 matter of fact, we plan to use such a device on the
25 = any time during the 2012 expedition? 25 manned submersibles we hope to use later this year.
10 12
1 A. Acouple times, yeah. 1 Q. And there was actually discussion about
2 Q. Okay. At any time with any wreckage other 2 using those prior to the 2012 expedition, wasn't
3 than wreckage associated with the Norwich City? 3 there?
4 A. I'm sorry, say that again. 4 A. I don't recall.
5 Q. Was it utilized to determine the dimension 5 Q. But you don't disagree that that's a
6 or scale for any objects other than those that were 6 possibility?
7 associated with the Norwich City? 7 A. That's a possibilities, sure.
8 A. There was an object sticking up out of the 8 Q. But they ultimately were not used as part of
9 _ sea floor that we were curious about. We didn't know 9° the 2012 expedition.
10 whether it was a piece of Norwich City wreckage or 10 A. Not that I -- I don't remember any laser
11. not, It was in the general vicinity of Norwich City. 11. rangefinders out there.
12 And we actually went in and grabbed it and pulled it 12 Q. What other disagreements do you have with
13° out. It was just a piece of steel, rusted steal, and 13 the methodologies utilized by the experts that we've
14 ‘it came apart. 14 hired in this case?
15 There was also a time when Wolfgang, the ROV | 15 A. There was‘something like 19 hours of video
16 operator, there was a piece of -- we suspected it was 16 shot during the 2016 trip, and all of it looks pretty
17 vegetation, it had a white ball on the end of it, and 17 much alike. It’s underwater coral, debris. We saw a
18 we went and grabbed that and actually brought it back 18 little bit of Norwich City wreckage, but we never got
19 tothe surface, brought it aboard ship, and it was a 19 deep enough to see the main body of wreckage, as we
20 piece of marine vegetation. But those are the only 20. did in 2012.
21 ~+times I remember the claw being used. 21 So there's all this footage; but as far as T
22 Q. Okay. And in those cases, those two you've 22 know, the experts are only looking at the footage
23 just mentioned, it sounds like it was used to 23 where Mr. Mellon said he saw debris. So it’s all
24 = actually retrieve items -- 24 being taken out of context. I have to wonder if they
25 A. Uh-huh. 25 had an opportunity to review the other hours and

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1 think he ever even reviewed it, because we didn't 1 It's scuba diving stuff. They didn't have any remote
2. find the airplane on the 2001 trip. 2 sensing technology. But they were out there looking
3 And at that point he decided we were 3 atthe reef, marine biology stuff. And they were
4 completely wrong about our theory, and he then 4 keeping it very quiet because they knew that the
5 decided that he was going to buy an underwater -- a 5 New England Aquarium had a special deal with the
6 remote underwater vehicle and conduct his own search. 6 Republic of Kiribati, the Phoenix Islands Protected
7 He spent a lot of money on that, but never actually 7 Area, and they didn't want to get crosswise with
8 did anything, and then he died. And his airplane is 8 them. But I just learned about that the other day.
9 now in the Seattle Museum of Flight, but -- the 9 As far as [ know, that's the only time anybody else
10 Electra he bought. 10 has been out there.
11 So I don't think that's selling -- we 11 Q. Tell me your title with TIGHAR.
12 weren't selling media rights, specifically; we sold 12 A. Executive director.
13. the commercial exploitation rights. 13 Q. Okay. And how long have you served in that
14 Q. Okay. Other than that, the two thousand -- 14 capacity?
15 was that 2001, you said? 15 A. Since the inception of the organization.
16 A. That was for the 2001 trip. 16 QQ.) Which was when?
17 Q. Okay. Other than that, up until the 2010 17 A. 1985,
18 agreement with Discovery, any other agreements with 18 Q. And what -- can you give me a thumbnail
19 media related to your expeditions? 19 sketch of what your duties are as executive director?
20 A. We went back out in 2007, but we didn't have | 20 A. Well, I'm the fundraiser; I direct the
21 -- Mark -- we hired Mark Smith ourselves for that 21 research; I write most of the material; I've led most
22 one, and Mark shot video for us, but we didn't have a 22 ~~ of the expeditions, not all; I direct it in an
23 media contract. 23 executive manner,
24 Q. And what did you -- did yau sell that -- 24 Q. Are you responsible for setting the budget
25 A. No. 25 for TIGHAR?
26 28
1 Q._ -- video or do anything with that? 1 A. Along with my wife, who is my partner.
2 A. No, it -- we -- it's still in the can. It's 2 Yeah, we -- both of us work it seven days a week.
3 great video. We'll use it. 3 And setting the budget is -- is a matter of saying
4 Q. The -- you talked about Kammerer going out 4 what do we want to accomplish, how much do we think
5 with his own submersible. 5 it's going to cost, and let's see how much we can
6 A. He never actually went out. 6 raise, if we can raise enough to do what we want to
7 Q. Okay. 7 do.
8 A. He -- he bought -- or he hired somebody with 8 Q. And what's your wife's name?
9 asubmersible. And they did tests on the submersible 9 A. Pat, Patricia, Patricia Thrasher.
10 and it didn't perform to specs, and he ended up suing 10 Q. And has she also been with the organization
11. the guy, I understand. 11. since its inception?
12 Q. Okay. Have there, to your knowledge, been 12 A. Uh-huh. She's --
13 any other -- other than those conducted by TIGHAR, 13 Q. Make sure --
14 been any other underwater expeditions, for lack of a 14 A. -- the president.
15 better word, to Nikumaroro? 15 Q. -- you say "yes" or "no."
16 A. The New England Aquarium does marine 16 A. I'm sorry?
17 biology, coral reef research, at Nikumaroro. And 17 Q. Make sure you say "yes" or "no." You said
18 they've run, boy, I'm not sure of the number, but at 18 --
19 least three trips to the Phoenix Islands, including 19 A. Yes.
20 Nikumaroro. 20 Q. Okay.
21 Q. Anybody else other than the New England 21 A. She -- she is -- she's the organization's
22 Aquarium? 22. ~president.
23 A. Theard that there was a group out of 23 Q. And is that the capacity she has served in
24 California, a small non-profit, who I just learned 24 ~~ since the beginning --
25 «the other day had been out there looking at the reef. 25 A. That's right.

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Q. -- since '85?

The -- are you the one that's primarily
responsible for publicity, and that sort of thing,
with TIGHAR?

A. Yes.

Q. And when you said you write most of the
materials, would that include your mailings to
members?

A. Yes.

Q. And that would -- what else, what other
kinds of things would that include?

A. I've got a copy of my book.

Q. Okay.

A. And emails. We have an active online forum,
and I'm usually active on the forum. There have been
times ~-- obviously, when I'm out of the country I'm
not, but I try to stay active on the forum. There’s
lots of email correspondence, there's -- there's
constant contact, email newsletters.

Q. What about press releases, do you write
those most of the time?

A. Yes.

Q. Are there occasions when somebody else would
write those?

A. Yes.

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about that project. He has a family foundation that
-- his family has a foundation that he has access to,
and Russ does the Devastator Project. Now, I -- I
oversee it in just a very general sense, but that's
primarily Russ' baby.

We have another project in the UK called the
Maid of Harlech, a World War II fighter that is in a
beach in North Wales near the -- near Harlech Castle.
And a TIGHAR member over there named Matt Rimmer is
the lead on that project.

Q. And -- oh, go ahead.

A. So, yeah, we -- I delegate this stuff as
much as I can. But the Earhart Project takes so much
of my time that I'm -- I'm primarily doing the
Earhart Project.

Q. As far as allocating the resources of TIGHAR
among those various projects, is that a decision that
you make?

A. Not entirely, because donations toward the
Devastator Project are earmarked for the Devastator
Project, so that money goes to the Devastator
Project. And so there are certain contributions
that, you know, if -- if a contribution is earmarked,
that's where the money goes. So money that comes in
for the Earhart Project goes to the Earhart Project.

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Q. Who, who eise would be responsible?

A. There was a lot of research done on a little
jar that we found on the island, an ointment pod that
once contained freckle -- freckle cream. And there
was a lot of -- there was a lot of scientific
research done to establish that. And the guy who was
leading that research project is a TIGHAR member from
Massachusetts named Joe Cerniglia. And that's
CERNIGLIA. And Joe -- and discoverynews.com
is always eager for our news, and so almost all of my
press releases, and the one that Joe wrote, go
through discoverynews.com, It's a great system for
us, because Discovery News puts it up on their
website and everybody else grabs it from there and
it's distributed.

Q. How long have you been working in that sort
of relationship with discoverynews.com?

A. Since the 2010 expedition.

Q. The -- are you the one that's responsible
for prioritizing projects for TIGHAR?

A. Yes and no. We have a project called the
Devastator Project that is aimed at recovering a
World War II torpedo bomber from a lagoon in the
Marshall Islands. And one of TIGHAR's board members,

a man named Russell Matthews, is really passionate

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General support means for general support. Many
donations aren't specified, and they go wherever
they're needed most.

Q. And you make those decisions?

A. Imake those decisions. Well, I should say
I make those decisions along with my wife, yeah.

Q. Tell mea little bit about that. Your wife,
what are her primary responsibilities, then, with the
organization?

A. She maintains our website; she's in charge
of member services, that is the sending out of
renewals, fulfillment of orders for like T-shirts,
ball-caps, that kind of thing, and DVDs, information;
she maintains the member database, which is a huge
thing.

We have one part-time employee who does
fulfillment, which is data entry stuff.

Q. Who is that?

A. The name of our --

Q. (Nodding head.)

A. Her name is Sandra -- she just started
working for us. I don't remember her last name.
She's -~ she's a 17-year-old Mexican-American girl we

hired who -- whose peers were giving her a hard time

about wanting to go to college and having a job, and

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happened to Nungesser and Coli?

Meanwhile Lindbergh is -- they didn't make
it. He comes across to New York. Now the lone
American boy takes off where the French heros -- the
dark horse -- the dark horse takes off where the two
French heros have failed. If you were a publicity
manager for Charles Lindbergh, you couldn't have
planned it any better. Because when he makes it to
Paris, they're a forgotten ingredient in the hysteria
that greeted Lindbergh. The first thing that
Lindbergh did after he got some sleep in Paris, and
he advised the American Embassador, was to visit
Nungesser's, the pilot, his mother, to express his
condolences.

A big mystery, huge in France to this day.
Most Americans don't know anything about it. It's
the most important lost airplane in history. Much
more important than Amelia Earhart. Because if they
had arrived in New York, as everyone expected them
to, Lindbergh would not have flown the Atlantic. And
if Lindbergh had not flown the Atlantic, all of the
things that happened because Lindbergh flew the
Atlantic would have at least happened differently.

All of those Americans who were inspired to get into
aviation and design the airplanes that won World War

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you guys. So if you will fund -- we didn't have a
non-profit, or anything. It was just me. And I'm
going to go up and I'm going to see if I can find
this airplane, if you'll fund the trip.

And one of my clients says, yeah, yeah, that
would be great, you know, we'll do that.

I called my brother, my younger brother, and
dragged him along with me, and we went up to Maine
and we trouped through the woods, and we didn't find
the White Bird. We talked to a lot of people, we
collected stories, we did archival research, and came
back and said this is really cool. I mean, this is
fun. This is a great -- I wonder if I could make a
living doing this?

And so I went to other former insurance
clients and they said this is a great investigation,
we can do this. And one of my former clients I went
to was a man named Richard C. "Kippy" duPont in
Delaware. A Delaware duPont.

And I -- about the same time I met my wife,
who was to become my wife, Pat. And she was not
happy doing what she was doing. She had gone to one
year of law schoo! and decided she didn't want to be
a lawyer after all, and was running a housecleaning

service in Norfolk, Virginia. Chesapeake, Virginia,

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II, that would have been different.

What happened to the White Bird? It's a
huge, huge mystery.

So Yankee Magazine tells about a hermit in
Maine named Anson Berry. A wonderful name. And he's
living up in the woods and he's on a canoe fishing on
Round Lake, way up east, and -- on a morning in 1927,
and he hears an airplane overhead in the fog. And
the engine goes to sputtering, he said. And then in
the hills west of the lake, there are three hills
that rise, he heard a faint rip and crash.

And there's a -- in the article there's a
map that shows the hill -- the lake and hills, the
area, like a search area. And the article ends:

Some day a hunter may run across a rusted engine in
the woods and a great mystery will be solved.

And I looked at that and I said, what do you
mean somebody some day will come across it? You've
got a map, man; this needs to be investigated. But
I've got a job, I'm busy. But when I left the
insurance business, I've got to find something to do.
I've got child support to pay and I -- and I've --I
mean, I want to investigate this. So I went to some
former insurance clients and I said, hey, if we can
find this airplane, it would be great publicity for

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actually. And we -- we met at a social event. And
she came up to Maine with me a couple of times and
enjoyed it. And I went to Kip duPont, I said, Kip,
do you think it would be possible to form a
non-profit foundation that would treat this kind of
investigation, historical investigation, as a real
scientific discipline, rather than just grave robbing
and treasure hunting? And we could have members and
they -- get enough members to pay the operating
expenses, and we could raise money for expeditions
and take on some difficult challenges, maybe recover
some airplanes?

And he said he thought that was a great
idea.

And I said, the trouble is, you know, I --
it's going to take time to get a non-profit set up,
and I've got to live.

He said, tell you what I'll do. I'm going
to make you a $35,000 unsecured interest-free loan
personally, and you'll live on that for the next year
and get your 501(c)(3). And then after you do that,
T'll make a charitable contribution to the
non-profit, which you can use to repay the -- the
non-profit can pay you and then you can repay my
Idan.

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45 47
1 Okay, sounds good to me. 1 Q. First of all, how old were you when you
2 And he did that. But then before -- and we 2 first got a pilot's license?
3 got our 501(c)(3) in December of -- no, no, January 3 A. A pilot's license? I soloed my senior year
4 of 1985. But before Kip could make his charitable 4 inhigh school. That was 1965. And I guess I was
5 contribution, he died of a heart attack. 5 how old? I was born in 1947, so what's that, 17?
6 Fortunately, his estate forgave the loan. 6 .Q. Something like that.
7 But here was TIGHAR, sort of up and running 7 A. Yeah. I was way too young. A kid that age
8 asa501(c)(3). TIGHAR was -- Pat and I sat down at 8 alone in an airplane, it's like a monkey with a
9 acoffee table in her apartment one day and just came 9 straight razor. I had a lot of fun.
10 up with The International Group for Historic Aircraft 10 Q. And you survived it.
11 Recovery, because it made kind of an interesting 11 A. Yes,
12 acronym that we could pronounce like an animal and it 12 Q. The -- other than -- when you first started
13. sounded like a good idea. So that's the way that all 13. TIGHAR, other than you, Pat, and Mr. DuPont through
14 happened. 14 his sponsorship, was there anybody else involved in
15 And our problem then was that this -- 15 the --
16 meanwhile, Kippy duPont had given us a four-room 16 A. Yeah, we had a board of directors.
17 house, it didn't feel much bigger than this room, on 17 Q. Okay. How did you --
18 his airport that we could live in for $250 a month 18 A. Friends -- friend in the aviation community
19 rent. It was a dump, but we got it cleaned up and we 19 that I had come to know while I was in the insurance
20 were doing all right. And we were building 20. ~=business.
21 memberships and getting a board directors -- we had a 21 Q. And how big was your board of directors at
22. ~=board of directors put together. But we were on the 22 ~~ that time?
23 «airport, and the same airport, Summit Aviation, did a 23 A. I don't remember, but it was five or six
24 = ‘lot of avionics work for the CIA. They did covert 24 people, something like that.
25 installations -- they did installations on aircraft 25 Q. Are any of those five or six people still
46 48
1 of material to be used in covert operations. They 1. involved?
2. did not want press around that airport at all, and 2 A. No. No, None of them are still involved.
3 here we've got reporters from the New York Times 3 Q. Is it fair to say that TIGHAR wouldn't have
4 coming to visit us to interview us in a house on the 4 started without your efforts and your wife's efforts?
5 airport. And the airport management is going 5 A. Qh, absolutely.
6 bananas. We can't have these guys here. So we were 6 Q. The -- other than the corporate formation
7 evicted. We were thrown off the airport. So we had 7 and getting a board of directors, what else did you
8 to rent a house in town in Wilmington. 8 dotoset up TIGHAR? You didn't have any offices or
9 Q. Was that after duPont's death that you were -- 9 property?
10 A. Yeah, yeah. You know, as long as Kippy was 10 A. Well, we operated out of a little four-room
11. there, they couldn't throw us off; but once Kippy was 11. house at the airport.
12 gone, the new management said now we're going to get | 12 Q. Yeah.
13 rid of these guys, and they did. We rented a house 13 A. And, you know, I can tell you all the
14 in Wilmington. 14 stories about trying to produce newsletters with an
15 "MR. MASTERSON: Excuse me. I'm sorry, Tim, 15 IBM Memory typewriter and rub-on graphics. It was
16 I’m going to step out for just a few minutes, I 16 primitive stuff. And it was very, very lean. I
17 apologize, to do a short call; but obviously, you're 17 mean; I can remember we had some posters made, and I
18 in good hands, and I apologize. 18 can remember Pat coming to me one day and just -- we
19 THE DEPONENT: No problem. 19 can't even make the $250 a month rent. I don't know
20 MR. MASTERSON: Thank you. 20 what we're going to do. And I remember grabbing up a
21 (Mr. Masterson not present.) 21 ‘roll of those posters and heading up into town to
22 BY MR. STUBSON: 22 visit. Let me see if I can sell enough posters to
23 Q. I want to go back and ask you a couple of 23 pay the rent. It was like that.
24 = follow-up questions on that. 24 Q. How long was it like that for?
25 A. Yeah, 25 A. It's still like that sometimes, honestly.

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57 59
1 Q. Okay. Would you consider yourself an expert 1 in museums and at crash sites. Yeah. And it's
2 in underwater recovery? 2. pretty obvious why we want to do that, because we're
3 A. No. 3. looking for artifacts that might be part of that
4 Q. So TIGHAR has to rely on others who are 4 airplane. And as part the identification process,
5 experts in those areas? 5 you'd better be familiar with what you're looking
6 A. TIGHAR always relies on volunteer expertise. 6 for.
7 Q. What experience do you have in reviewing 7 Q. And the resources, I know there was
8 underwater images? , 8 discussion yesterday in Mr. Mellon's deposition about
9 A. Just the experience that I've had directly 9 drawings.
10 with the underwater images we've taken and with 10 A. Uh-huh.
11. underwater images I've seen of aircraft in like Truk 11 Q. Do you have other engineering drawings
12 Lagoon. You know, there's been a lot of video shot 12 related to the Electra?
13. by scuba divers of underwater airplanes and, you 13 A. We have a copy of -- a digitized searchable
14 know, I've -- I've looked at those. 14 database of the original Lockheed engineering
15 Q. Okay. 15 drawings for the Model 10 Electra. Now, those
16 A. Yeah. 16 drawings exist on microfilm at the Smithsonian, and
17 Q. Any Special education or training on -- 17 they are publicly available to anyone who wants to go
18 A. No. 18 to the archives of the National Air and Space Museum
19 Q. -- analyzing underwater images? 19 and put those reels of microfilm on the readers and
20 A. No. 20 crank through them looking at the drawings. To my
21 Q. And so would you consider yourself an expert 21 knowledge, we have the only digitized searchable
22 in analyzing underwater images? 22 database of those drawings. It just makes it a lot
23 A. Certainly not. 23 easier. And there are thousands of drawings.
24 Q. Would you consider yourself an expert on the 24 Q. You said that TIGHAR relies upon volunteer .
25 disappearance of Amelia Earhart? 25 experts.
58 60
1 A. I think that's fair to say, yes. 1 A. Yes.
2 Q. Okay. And why -- why would you say that? 2 Q. Would those include TIGHAR members?
3 A. Ihave been the director of that project 3 A. For the most part, yeah. Most of our
4 leading the -- our research in the Amelia Earhart 4 volunteer help are TIGHAR members. There are
5 disappearance for I think we're in our 26th year. 5 occasions when we need expertise and we go out and
6 I've participated in and reviewed I can't begin to 6 hire expertise that we don't have within our
7 guess how many thousands of hours of archival 7 membership.
8 research. I wrote a book that's -- that documents 8 Q. Okay. And we'll talk about Mr. Glickman a
9 what's Known about the Earhart disappearance 9 fittle bit down the road, but would he be an example
10 published by the Naval Institute Press. It's 10 of a volunteer expert you relied --
41. considered by many to be the most authoritative 11 A. Yes, he's a volunteer.
12 source on the known facts of the Earhart 12 Q. What are some other. volunteer experts you
13 disappearance. I'm proud of the book. 13 relied upon for the 2010 expedition?
14 Q. What -- 14 A. The expedition in general or a specific part
15 A. The world seems to think I'm an expert on 15 of the expedition?
16 the Earhart disappearance. I'm the one who gets 16 Q. The expedition in general.
17 called. 17 A. To conduct the expedition, you know, that
18 Q. What about the Earhart aircraft itself, are 18 2010 expedition involved a lot of land operations,
19 you -- would you consider yourself an expert on the 19 and that didn't require any -- any particular outside
20 aircraft itself? 20 expertise. We know -- oh, well, okay, Tom King, our
21 A. Yes, I would. 21. ~senior archeologist, led the land operations there.
22 Q. Okay. And again, why do you believe that? 22 And I was with him, but I let Tom -- Tom is the
23 A. Because I've spent so much time looking at 23 degreed archeologist, and Tom made the decisions
24 photographs of the airplane, official documents 24 about how to search and where to search, and so
25 relating to the airplane, existing Lockheed 10s, both 25 forth, on that.

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73 75
1 Now, one of my favorite things in these 1 A. In some occasions, if I'm busy doing other
2 discussions is pointing out to people that when you 2 things and I haven't been looking at the forum, I
3 talk -- when you say "would have" in historic 3 might get a message from a moderator saying, hey, you
4 investigation argument, "would have" is a guess that 4 know, have you seen what so and so posted? He's at
5 masquerades as a fact. Oh, Earhart would have turned 5 it again. He's doing -- you've already told him.
6 north because of whatever reason you come up with; 6 And I'll go and look at it and I go, oh,
7 therefore, we can conclude.... 7 okay.
8 No, you can't say that. 8 The first step we do is put somebody on
9 And you try -- and Gary was always what if 9 moderation. They don't toss them off, but we -- we
10. this, what if that? Oh, Earhart and Noonan could not 10 make it so that if they post something to the forum,
11. have been on -- marooned on Gardner Island because 11. a moderator has to look at it and say, yeah, that's
12 the Navy flew over the island in a search and they 12 okay, and put it up. And in most cases, we do. But
13. would have seen her. 13 if they.do something that we've already determined is
14 You can't say that. You don't know what 14 just not legitimate, something we've already dealt
15 they -- what happened. 15 with, then we might not put it up. And if they're
16 And you go back and forth, and eventually if 16 persistent and aggressive enough, we'll -- we'll ban
17 you reach a point with someone where they're not 17 them. We've had some really vicious people on that
18 listening, they won't accept what you believe to be 18 -- that forum, and you just -- you have to get rid of
19 good methodology -- and it's never about they won't 19 them.
20 accept what we think. That's not what it's about. 20 Q. The -- is the approach currently with Tim
21 We welcome and encourage criticism and critique anda | 21 Mellon's posts to have moderators review them befare
22 lively discussion; but when somebody is just arguing 22 they are posted?
23 an invalid methodology and won't shut up, it turns 23 A. No. No, Tim is not moderated.
24 into trollism. They are just out there to destroy 24 Q. Has he ever been --
25 =the effectiveness of the website. And as the 25 A. No.
74 76
1 executive director of TIGHAR, it's my responsibility 1 Q.  -- moderated?
2 to look out for the -- the integrity of the 2 A. Not to my knowledge.
3 organization, the public face of the organization. 3 Q. What -- if you were to give me a definition
4 We have thousands of people, we don't know 4 of what the moderator's job or function is, what --
5 how many people, come and look at that forum. We 5 what do they do, what's their role?
6 have a number of people registered to the forum, 6 A. To make sure -- there are rules, posted
7 several hundred, pushing a thousand, I think, but you 7 rules, for forum posts. And they have to do with
8 only register if you think you might want to post on 8 civility and citing your sources and substantive
9 it. But to just go and read it, you can do it, and 9 arguments, We're not there to just chitchat. There
10 maybe you have. Anybody can do it. And we don't 10 are subjects of -- places you can go to just
11. know how many thousands of people read it. 11. ~chitchat. But, you know, research thread or topic,
12 And this is -- this is TIGHAR's discussion 12 we want to be on-topic, talking about what we're
13 going out there, and if we -- if people come to the 13. supposed to be talking about on this topic, and
14 TIGHAR forum and read things and react this is crazy, 14 making sense. You don't have to agree, but you have
15 this is stupid stuff, they're going to go away and 15 to make sense.
16 they probably won't come back. They won't ever 16 Q. And you're the ultimate arbiter of whether
17 become TIGHAR members and they won't participate. 17 somebody --
18 And we need the public. That's what it's all about, 18 A. Somebody has to do it.
19 isa public forum. So -- 19 Q. And you are that person?
20 Q. Who makes that decision, though? 20 A. It's my job.
21 A. Ido. 21 Q. Okay. Does TIGHAR have any sort of
22 Q. On terminating somebody? 22 endowment?
23 A. Yes. 23 A. No.
24 Q. Okay. And how is it -- do the moderators 24 Q. And you mentioned earlier, in talking about
25 bring that to your attention, or how is that done? 25 TIGHAR's employees, it's you, your wife, your

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1 part-time data entry person. 1. offices are located at that farm?
2 A. Uh-huh. 2 A. At the farm.
3 Q. Have there ever been any other employees 3 Q. And what's the mailing address?
4 other than you and your wife and that current data 4 A. 2366 Hickory Hill Road, Oxford, PA, 19363.
5 entry person? 5 Q. Who in TIGHAR is responsible for gathering
6 A. And we've -- we -- we've usually had some 6 information for your tax filings?
7 kind of administrative assistant part time, but 7 A. My wife.
8 that's -- other than that, no, it's always been me 8 Q. Okay. Do you review that information, as
9 and my wife. 9 well?
10 Q. And have you taken a salary from TIGHAR 10 A. Usually not, no.
11. since it was first formed in 1985? 11 Q. Okay. The -- and do you have an accountant
12 A. Sure. Yes. 12 that actually files your returns --
13 Q.. And has your wife taken a salary from TIGHAR 13 A. Yes.
14 since it formed in 1985? 14 Q. -- for you?
15 A. She was for a while. Now we count all of 15 Who is that?
16 the income to us as individuals under my name, for 16 A. Citrin Cooperman in Philadelphia. It's a
17 tax reasons. 17 big accounting firm.
18 Q. Okay. And when did you start doing it that 18 Q. And how long have they been doing that work
19 way? 19 for TIGHAR?
20 A. God, I don't know, 2009, something like 20 A. Citrin Cooperman has been doing our stuff
21 ~~ «that? 21 ‘for I think the last four years, something like that.
22 Q. Okay. 22 (Pause in proceedings.)
23 A. One way or another either side. 23° BY MR. STUBSON:
24 Q. So -- and then TIGHAR's offices, are those 24 Q. Mr. Gillespie, I'm going to hand you what
25 located in your home? 25 has been marked as Deposition Exhibit Number 23,
78 80
1 A. Yes. 1. which was produced as part of your -- the discovery
2 Q. And have -- has that always been the case? 2 from TIGHAR.
3 A. That's always been the case. 3 A. Uh-huh,
4 Q. And does TIGHAR pay you for the use of the 4 Q. Do you recognize that document?
5 office space in your home? 5 A. Yes.
6 A. We -- we rent space in our home to TIGHAR. 6 Q. And what is that?
7 Q. Okay. And has that always been at the same 7 A. This is TIGHAR's Form 990 from fiscal year
8 location? 8 2009.
9 A. No. 9 Q. Okay. If you go -- let's see if I can find
10 Q. Well, you mentioned earlier that airport -- 10. the signature page.
11 A. There have been four locations. 11 A. Yeah, good question.
12 Q. Okay. 12 Q. It's not signed.
13 A. The little house on the airport; then we 13 Under the signature block it's got your
14 rented a house in Wilmington, a suburb of Wilmington; 14 wife's name; is that correct?
15 and then through a campaign with the TIGHAR members, | 15 A. Uh-huh, that's right.
16 we were able to buy a house, it's a split-level house 16 Q. Okay. Now, have you looked at this document
17 in that same development, and we were there for 21 17 before?
18 years; and just this past December we moved from 18 A. Yes, I have.
19 there to an 11-acre farm near Oxford, Pennsylvania. 19 Q. Okay. And you're familiar with the
20 Weare selling the house in Wilmington and we are 20 = information in the document?
21° leasing the farm. So once ~~ once we sell the house 21 A. Ina general sense.
22 in Wilmington, we will not be homeowners. 22 Q. Okay. I just want to ask you about a couple
23 Q. You will continue leasing the farm? 23 of different things with respect to this 2009 return.
24 A. Yes. 24 A. Uh-huh.
25 QQ. Okay. And so currently the -- TIGHAR's 25 Q. Now, looking down on lines 8 and 12, you see

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81 83

1 -- so we've got information there regarding 1 been flexible. It has never made any sense to set a
2. contributions -- 2 set salary for us for TIGHAR, because in most cases,
3 A. Uh-huh. 3. you know, the board would approve something very
4 Q. -- and total revenue? 4 generous and we wouldn't be able to pay it and then
5 A. Right. 5 TIGHAR ends up owing us a bunch of money, and then it
6 Q. And that would include both 2008 and 2009, 6 was ata low, and it just got complicated.
7 correct? So you have got the prior year -- 7 So we -- we have evolved a system where as
8 A. Oh, yeah, okay. Yeah. 8 long as we stay within the approved guidelines for
9 Q. Is that correct? 9 non profits, it's up to us to raise the money. And

10 A. Let me look at it again. Contributions and 10 we -- if we're able to draw more from the

11. grants prior year, which would be two thousand -- 11. organization as salary, we do. We report it to the

12 fiscal year 2008, and current year. 12 board, the board approves it, it's always within the

13 Yep, okay. 13 guidelines.

14 Q. Does your fiscal year -- looking at the top, 14 And man, L had forgotten, fourteen-eight?

15 it looks like your fiscal year runs from July Ist to 15 God, how the hell did we live through that?

16 June 30th? 16 Q. The -- so your -- the amount of your salary,

17 A. That's correct. 17 it sounds like, then, is somewhat dependent upon the

18 Q. Okay. And so fiscal year 2008 would 18 amount of money that TIGHAR brings in?

19 actually have run through June 30th of 2009, correct? 19 A. Oh, yes.

20 A. These things always confuse the daylights 20 Q. Okay.

21° out of me. Fiscal year -- this is report for fiscal 21 A. Yeah.

22 year 2009 to June 30, 2010. So prior year would be 22 Q. And the -- tell me the process for

23 two thousand -- two thousand -- June (sic) 1st, 2008 23 determining a salary. Do you take a suggestion or a

24 to June 30, 2009, yes, okay. 24 proposal to the board, or how does that work?

25 Q. Okay. And you'll note down under line 12 25 A. No, we report to the board what we did, and

82 84

1. there's, it looks like, a pretty sharp increase in 1 the board looks at it. I have to say that I -- we
2 total revenue -- 2 have never had a case where the board has looked at
3 A. Uh-huh. 3. the financial Information we reported to them and
4 Q.  -- from 224 to 909. 4 said, hey, no, you're -- you're taking too much here,
5 Do you remember what -- what would explain § you're making too much money. There's never been
6 that increase in revenue? 6 anything like that.
7 A. No. 7 Q. Is that determination on your compensation
8 Q. Okay. And then under salaries, if you look 8 determined at the end of the fiscal year?
9 down on line 15, do you see that? 9 A. It -- it's determined -- what we do is when

10 A. Uh-huh. 10 wehave a board meeting, we'll present financial

11 Q. And there's salary from the prior year of 11. information to the board based on the most recent

12 14,873 -- 12. fiscal year, and they review that and they can

13 A. Uh-huh. 13 comment on it.

14 Q. -- and for the current year of 159,000? 14 Q. The -- and is there a -- is it the board's

15 A. Uh-huh. 15 ultimate decision on what the compensation is?

16 Q. Do you know what explains that increase, 16 A. I serve at the pleasure of the board. The

17 that sharp increase in compensation over that time 17 board can fire me and Pat at any time.

18 frame? 18 Q. But my question was, is it their

19 A. I-- the money was available to -- to pay us 19 determination on what your compensation is?

20 more than had been available before. And that's very 20 A. No.

21 +typical of TIGHAR. You know, there are very lean 21 Q. Okay.

22 years, and then fund-raising for an expedition brings 22 A. No, no, we -- we decide what TIGHAR can

23. ~+in more -- more funding and we're able to satisfy old 23 afford to pay us.

24 debts by -- and TIGHAR can pay us more so that we can _ | 24 Q. Okay.

25 -- wecan make up for the -- you know, it's always 25 A. That's the simplest way to put it.

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89 91
1 so that they could come along. They didn't have to 1 cutoff is June 30th, 2012, so that represents the
2 come along. They -- it was a substantial part of 2 amount of money that had come in up to June 30th.
3. sithat, I can't tell you exactly how much, of the 3 But, of course, more money came in for the 2012
4 expense of the expedition, with them making a 4 expedition after that date, I think. I'm not sure of
‘§ donation so that they could charter a boat to come 5 that. But again, that -- that represents, primarily,
6 out and participate in the expedition. 6 funding for the 2012 expedition, which was much more
7 BY MR. STUBSON: 7 expensive than any expedition we've ever done.
8 Q. Okay. So it was funded through TIGHAR? 8 Q. And that 1.9 million, that would include the
9 A. Yeah. Yeah, they -- they -- we chartered 9 donation from Mr. Mellon?
10 the second boat, but they -- they made the 10 A. Yep.
11. contribution. 11 Q. And the -- had you ever had a year with
12 Q. And who were those board members? 12. total revenue as high as reflected in --
13 - A. Graham Berwind, BE RWIND, he supported | 13 A. No.
14 most of that; and Arthur Carty. And it turned out to 14 Q. And I'm sorry, let me -- make sure I --
15 bea very valuable thing to have the second boat out 15 A. Yeah. .
16 there. It saved our butt on a couple of things. 16 Q. -- finish.
17 Q. What was the name of the second boat? 17 A. Sure.
18 A. The VvSi. It's a designation of a grade of 18 Q. Did you ever have a year with higher revenue
19 diamond, like the highest grade of diamond, and the 19 than reflected in this tax return?
20 owner of the boat was a diamond dealer. Strangest 20 MR, CARTER: Object to the term "revenue."
21 name for a boat I ever heard. 21 A. We brought in -- TIGHAR brought in more
22 (Pause in proceedings.) 22 money in contributions in this fiscal year, 2011 to
23 BY MR. STUBSON: 23 2012, than in any previous fiscal year.
24 Q. Mr. Gillespie, I'm going to hand you what 24 BY MR. STUBSON:
25 has been marked as Deposition Exhibit Number 24, and ‘| 25 Q. Okay. And Ido -- I think it is important
90 92
1 ask you if you recognize that document? 1 -- I mean, I'm looking at number 12, which talks
2 A. Yes, Ido. 2 about total revenue. As far as the line on -- the
3 Q. And what is that document? 3 amount on that line, had you ever reported total
4 A. That's TIGHAR's Form 990 for fiscal year 4 revenue higher than is found in this particular tax
§ 2011 to 2012. 5 return?
6 Q. And again, looking at the first page, that's 6 A. The two million one hundred and -- no, no, I
7 signed by your wife, correct? 7 don't believe so.
8 A. Yep, it looks like her signature. 8 Q. And then looking down again under salaries
9 Q. And looking at the -- both lines 8 and 12, 9 and other compensation, that in 2011 was 259,000. Do
10 the contributions and grants and the total revenue -- 10 you see that?
11 A. Uh-huh, 11 A. Uh-huh, yep.
12 Q. -- you see that the prior year, which would 12 Q. Yes?
13 have been 2010 fiscal year, the grants and 13 A. Yes, that is.
14 contributions was 147,000? 14 Q. And so there was a little bit of an increase
15 A. That's right. 15 over what had been paid out in salaries in the prior
16 Q. And then for fiscal year 2011 it was a 16 year, correct?
17 little over 1.9 million. Do you see that? 17 A. That's right.
18 A. That's right. 18 And I will emphasize that not one penny of
19 Q. Okay. And what was -- explain the big 19 Mr. Mellon's contribution ever went into my pocket.
20 increase there, if you could. 20 = That all went to the expedition, paying Phoenix
21 A. Oh, that was -- you know, this is the 21 International and paying the charter.
22 typical. Before we saw a spike in contributions for 22 Q. The amount of your salary in this fiscal
23 when -- to fund an expedition. This -- this prior 23 =~year, was it somewhat based on the amount of money
24 ~=year, there's no expedition, we're just struggling 24 = that TIGHAR was able to bring in during that year?
25 along. And then in 2012 we had the big -- and this 25 A. Yes, of course it was. Yes.

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1 Q. So bringing in higher money led to a higher 1 I'm hoping they at some point still go with the guy I
2 salary for you guys? 2 selected. I recommended him. The board pays
3 A. That's right. 3 attention. I do not have a free hand in running
4 Q. And just to -- again, looking at page 7, 4 TIGHAR.
5 which is in a different -- the page number is ina 5 Q. How big is the board right now?
6 little bit different place. It's in the upper 6 A. Nine members -- no, eight members. Eight
7 right-hand corner. 7 members. .
8 A. I don't have a page 7. 8 Q. And is that -- has that been its size --
9 MR. CARTER: I don't, either. 9 A. Several years.
10 MR. BROWN: I was looking for it. 10 Q. Okay.
11 MR. STUBSON: Let's go off the record. 11 A. You know, there hasn't been any turnover
12 (Discussion off the record.) 12 lately.
13. BYMR.STUBSON: ~ 13 Q. And are there specific term limits for board
14 Q. Mr. Gillespie, I apologize, you were missing 14 members?
15 page 7 of that. You should have that in front of you 15 A. We hold elections every two years.
16 now, correct? : 16 Q. And is there a limit to how long someone can
17 A. Uh-huh, yep. 17 serve --
18 Q. And then it reflects a salary to you of 186 18 A. No.
19 for that fiscal year; is that correct? 19 Q.  -- on the board?
20 A. That's right. 20 A. No.
21 Q. And to the best of your knowledge, that was 21 Q. Who is your longest-serving board member
22 accurate? | 22 currently?
23 A. As far as I know. 23 A. I'mnot sure. They've all been around quite
24 Q. If you'll flip to the next page, or actually 24 awhile.
25 to page 9, if you would, please. And down at the 25 Q. Okay.
94 96
1 bottom of this are -- do you see there's a line item { A. ButI -- I -- I don't remember who came on
2 for media rights fees? 2 when.
3 A. Yes. 3 Q. Is there any requirement for a financial
4 Q. Would that include any payments from 4 commitment by folks to be on the board?
5 Discovery? 5 A. No. They serve as volunteers, and some --
6 A. Sure. 6 some are there because of their expertise, others --
7 Q. What other things would that include? 7 everybody is there because the rest of us on the
8 A. As far as I know, that -- Discovery was the 8 board feel that they bring something important to the
9 only entity that paid a media rights fee to TIGHAR. 9 organization in terms of input, other than financial.
10 Q. Okay. How do you select board members? 10 But some board members can write bigger checks than
11 A. Idon't select board members. 11. other board members.
12 Q. Okay. How are they selected? 12 Q. And -- but there's no required financial
13 A. Ican nominate a board member. If I run 13. commitment?
14 across someone and I think, you know, I think this 14 A. No.
15 person would do really well on our board, I bring 15 Q. Okay. So you talked about expertise. For
16 that to the board, usually in a board meeting, this 16 example, Mr. Carter, what area of expertise are you
17. guy da, da, da, and the board will consider that. 17. drawing on him being on the board?
18 And if they think it's worthy, they'll -- they will 18 A. He holds himself out to be an attorney, and
19 put his name on the ballot as a candidate and will 19 Ithink he's a pretty darn good one. And he's great
20 hold an election. If it gets to that point, the 20 witha chain saw, too, so -- but Dr. Tom King, senior
21 ~+~board is going to elect them, because we discuss it. 21 archeologist, an organization like TIGHAR should have
22 Now, I -- I have suggested people as board 22 an archeologist on the board.
23. members and the board members are, no. 23 Skeet Gifford, Captain Skeet Gifford,
24 Q. Does that happen very often? 24 retired United Airlines captain and instructor pilot
25 A. I think -- well, it happened once recently. 25 and NASA consultant, topnotch aviation guy on the

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97
board. He can't write big checks, but he provides
important information.

So yeah, a variety of skills.

Q. Are there any board members that you did not
know prior to their becoming board members of TIGHAR?

A. No. No. I mean, that's almost a given.
The -- people become interested in the organization,
they join the organization, at some point I have
contact with them and -- or another board member has
contact with them and they say, hey, this guy's
really sharp, and how about ~~ how about putting this
person on the board. We talk about it and, if we
decide it's a good idea -- if everybody decides it's
a good idea, then we go through a nomination and
election process.

Q. Has there been anybody put on the board over

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Ooarkhk WN AH OHO ON Da kk WON =|

99

A. Any decision about any maximum amount for
our compensation, any -- any -- any discussions
involving remuneration of the executive committee,
which is me and Pat, are happened -- happen without
us being present. We don't vote on those. We leave
the room when those discussions are held, and any
decision or results of any vote are announced after
we come back in.

Q. Okay. Any other types of decisions that
it's just the board?

A. Iwant to make sure I understand your
question.

Q. Okay.

A. Does -~ you're asking whether there are
decisions -- it's best if you restate your question.

Q. Sure. Are there any other areas where the

your objection? 17 . decisions are reserved exclusively for the board?
A. No. 18 A. We don't accept sponsored team member unless
Q. Is there anybody on the board that you 19 the board agrees. And the rules for accepting
20 = yourself did not nominate? 20 sponsored team members, that is the people who buy
21 A. I don't remember. 21 «their way onto an expedition, the rule is that
22 Q. None that you can think of? 22 anybody can propose a sponsored team member, someone
23 A. None that I can think of. 23 who says, hey, I'd like to go on a trip, but in
24 Q. How often do you conduct board meetings? 24 order for them to be approved, yeah, we'll take your
25 A. Once a year, usually; sometimes twice a 25 money, you can go on the trip, some board member has
98 100
1 year. 1 to meet with them and say, yeah, this guy's all
2 Q. Are they at a standard location or do they 2 right.
3 move -- 3 Q. And are there -- have there been sponsored
4 A. No. 4 team members on each of your expeditions to
5 Q.  -- around? 5 Nikumaroro?
6 A. No, we try to move it around, because we 6 A. Noton all of them. We started doing that
7 have people scattered all over the place, so we try 7 --I want to say the 1999 trip was the first time we
8 to make it easier for them. 8 had sponsored team members.
9 Q. Okay. Do you hold any -- are all those 9 Q. What's the process to apply and be approved?
10 board meetings in person? 10 A. Well, you can apply by just sending me or
11 A. Well, we've had conference calls to discuss 11. any other member of the TIGHAR board an email saying,
12. things, but I don't think we've -- we've never 12. hey, I'd like to go. And we will publicize that we
13 considered any of those to be official board 13 have sponsor team member berths available, and in
14 meetings. An official board meeting is a sit-down- 14 most cases the required contribution has been
15 together board meeting. 15 $50,000. And if somebody expresses an interest in
16 Q. And that’s typically once a year? 16 that, a board member meets with them, makes a
17 A. Yeah. 17 recommendation. And the kinds of things we're
18 Q. Okay. Other than financial, are there any 18 looking at are is this person physically able to
19 time commitment obligations, or anything like that, 19 handle the work? It's a tough place. That wasn't a
20 = for board members? 20 consideration on the 2012 trip, because we weren't
21 A. No. It's never been a problem. These guys 21 = going to do anything but sit on the boat. The work
22 are dedicated and spend a lot of time working on 22 ~=ashore is strenuous work, and we only take people who
23 TIGHAR stuff. 23 seem to be fit enough to do it. But it's also a
24 Q. Are there any decisions that are reserved 24 ~=personality thing. They've got to be somebody we're
25 exclusively for the board? 25° willing to spend a month on a boat with. We're real
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1. careful about that. 1 affairs. We argue about things. That's one of the
2 Q. Okay. 2 great things about the TIGHAR board. These guys are
3 A. Ihave turned down sponsor team members that | 3 fantastic.
4. I felt just weren't appropriate. 4 Q. And ultimately making those decisions about
5 Q. And by -- did you lose their donation, then? 5 what resources are allocated to on-land searches
6 A. Yes. Oh, yeah. 6 versus searches for the plane, you make those
7 Q. Have you done that more than a handful of 7 decisions, correct?
8 times or -- 8 A. Not really, no. I -- I have never, and I
9 A. Just once I can remember doing it. There 9 would not ever in the board meetings say, weil, I
10 was a guy, he was from West Virginia, he's a 10 know you guys think we should do this, but I am going
11 professor at a college, and a very self-important 11 todothis. That's not the way it works. If we --
12 gentleman, and -- but a dedicated ham radio operator. 12 we have to reach consensus on what we're going to do
13. And what he really wanted to do was go out there and 13. next and how the resources are -- not dollar per
14. doham radio. He wasn't particularly interested in 14 dollar how they are going to be allotted next, but
15 what we were doing, but he thought it would just be a 15 where we're going to put our energies and money
16 really neat place to go and do ham radio. And he 16 available to us. Now, that's a ~- the board has to
17 was, by God this, that, and the other thing, and I 17 be onboard with all that.
18 was like, I don't think so. He was just not a good 18 Q. And so if a particular avenue of
19 fit. 19 investigation does not have consensus, it won't be
20 Q. SO you only remember that one time, though? 20 undertaken?
21 A. Just the one time. I wish I was inundated 21 A. I can't -- I have to have the board's
22 with people who wanted to give us $50,000 to go on 22 support for what we do.
23 ~=«these trips, but that's seldom the case. 23 Q. How many times has TIGHAR been ~- and you
24 Q. How many times -- well, let me ask this, 24 ~~ should correct me if I'm mispronouncing the name of
25 = actually: What -- over the last five years what's 25 theisland. Nikumaroro?
102 104
1 been the biggest disagreement between you and the 1 A. That's great.
2. board? 2 Q. How many times has TIGHAR been there?
3 A. Our senior archeologist, Tom King, and I 3 A. How many times has TIGHAR been there? 11.
4 have fought from the day we met. We love each other, 4 Q. And have you been on each of those?
5 but we fight constantly about priority. He’s an 5 A. No. There was one that I didn't go on. It
6 archeologist, I'm an aviation accident investigator. 6 was 2003. It was a very specific -- one of the guys
7 He doesn't think we should even be looking for the 7 onthe New England Aquarium -- on the New England
8 airplane. He thinks that we should be building the 8 Aquarium expedition, Dr. Greg Stone, when they were
9 archaeological preponderance of evidence on land; and 9 there in 2002 he thought that he saw something on the
10 looking for the airplane is a mistake, because if you 10 reef near the main pass in shallow water that looked
11. don't find it, then there's the perception that it's 11. to him like an airplane wheel. Not the tire, but the
12 not there, not that you haven't found it yet. 12 metal part, the wheel. And he didn't mention this
13 So, you know, Tom and I go back and forth 13 until they were already on their way home. He
14 all the time. Never come to blows, but -- he was on 14 assumed that we had seen it. You know, they -- we
15 our 1989, the first trip out there, and -- he wasn't 15 share all this back and forth when we go to that
16 a board member at that time, but the disagreements 16 island. And he got back and said I saw something, a
17 got enough so that he dropped off the radar. And we 17 wheel.
18 didn't speak until shortly before the 1996 trip. He 18 What do you mean, you saw a wheel?
19 wasn't along on the 1991 trip. But then he came back 19 And we met, we went up to the New England
20 aboard and decided we were not so bad after all, and 20 Air Museum, we looked at airplane wheels, and he
21 he came back aboard on the 1996 -- no, the 1997 trip. 21 ~~ said, yeah, it looks like one of those. They were
22 And then I think it was around then that we put him 22 Lockheed Electras.
23 on the board, and he's been on the board ever since. 23 So we decided we needed to have a dedicated
24 But we still disagree on things. 24 expedition to go out there and get that wheel, and it
25 | Board meetings are -- can be contentious 25 had to happen fast and it had to happen cheap,

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1 because we didn't have the money. So we chartered a 1 and side scan sonar stuff.

2 small sailboat out of New Zealand and sent four guys 2 And we saw some things that looked

3 out there, John Clauss, Walt Holm, Van Hunt and 3 interesting, like, hey, that might be an airplane

4 somebody else, I've forgotten who. And they went out 4 part. And when we towed over it in a different

5 there, they were only on the island for like four 5 direction, it was all just, no, it's not. We didn't

6 days, and the wheel was gone. There had been a huge 6 find anything, but we didn't get to search the

7 storm at the island, it over washed stuff; but they 7 western end.

8 found some other stuff on land that was really 8 Q. And the contractor was Oceaneering?

9 interesting. 9 A. Oceaneering International.
10 But I wasn't on that trip, to get to your 10 Q. Okay.
11. point. The other ten trips I have been on, I have 11 A. The interesting thing there is that the
12 led. 12. regional manager we were dealing with at Oceaneering
13 Q. And the first one was when? 13 International at that time was a man named Michael
14 A. '89. 14 Kutzleb, K U TZLEB, Kutzleb. And fast forward to
15 Q. Okay. And they -- the most recent one prior 15 2012, and I'm suddenly under pressure from the
16 tothe 2010 expedition was when? 16 U.S. State Department to do the expedition "this
17 A. Prior to 2010? 17. summer." We weren't planning to do the expedition
18 Q. Yeah. 18 “this summer." We wanted more time to prepare for
19 A. Was 2007, yeah. 19 this trip. And -- but the State Department says
20 Q. Okay. During any of those prior expeditions 20 we'll give you all kinds of publicity and what
21 ~=before 2010, had there been utilization of 21 > +support we can and help you round up sponsors, but
22 ~remote-operated underwater vehicles? 22. =it's got to happen this summer.
23 A. Yeah. Yeah, 23 Oh, man, who can I call? What's Kutzleb
24 Q. Tell me about those. 24 doing these days? Is he still with Oceaneering? No,
25 A. 1991 we contracted with Oceaneering 25 he's not at Oceaneering. He's running his own

106 108

1 International, a large undersea search and recovery, 1 company, Phoenix International.

2 todo a sonar survey around the whole island. And 2 So I called Mike. Oh, Ric, how's it going?

3. the ship we chartered -- we had to take a ship out of 3 Yeah, it's been years. You know, let's -- come out.

4 a location where we could Fed Ex a winch, a 4 I want to -- I've got to talk to you, Mike,

5 7,000-thousand pound winch, and then load it on the 5 about -- about another job.

6 boat. Well, that was Hawaii, and we got a ship that 6 And that's where we connected with Phoenix

7 was in Hawaii, a 120-foot motor vessel Acadian. And. 7 International, because I knew Mike Kutzleb, liked

8 we got the winch out there, got it welded to the top 8 him, and we had to put together this 2012 trip ina

9 deck, made the boat horribly unstable, and we went | 9 big hurry. /
10 down there and they did their sonar survey. 10 And if I had it to do all over again, I
11 And they went around the whole island towing {11 would not do it.
12. -- this was towed array side scan sonar. They went 12 Q. The 2012 trip?
13 all around the island except the western end. That 13 A. IfI had to do it over again, I would have
14 was the last part they were going to do. And as they 14 told the State Department that we don't -- do you
15 came up to do the western end of the island, they ran 15 want it right or do you want it this summer, because
16 the fish, as you call it, the towed array sonar, they 16 you can't have both. But when the Assistant
17 ran the fish into an underwater obstruction and lost 17 Secretary of State tells you we've looked at all your
18 the fish. 18 data, we think you've got this thing nailed, we want
19 Now, years later it turns out that western 19 you to do this expedition this summer, and my
20 end is exactly where we think the airplane is. We 20 Secretary is so excited about this that she wants to
21 = didn't get to search what later turned out to be the 21 make the announcement herself at an event here at the
22 prime search area. 22 State Department.
23 But yeah, we did. We were towing sonar, we 23 To which I react, what do you mean your
24 were analyzing side scan sonar video. There was no 24 Secretary? Wait a minute, what Secretary are you
25 video imagery. It was printout and computer screen 25 talking about?

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1 He says, the one I work for. 1 we had atrip -- he was going to fly down to

2 At that point everything gets surreal, you 2 Wilmington, but that didn't work out, somebody's

3 know, and I'm being offered the Secretary of State, 3. schedule, I forgot the details.

4 Secretary of Transportation, Bob Ballard, Benjamin 4 So I said, all right, I'll come up to

5 Franklin Room at the State Department. You don't say 5 Rhode Island.

6 no to something -- well, I didn't. I would today, 6 Because at that time all of my communication

7 but I didn't then. 7 with him was at the house in Rhode Island and then he

8 And the board of directors said, oh, my God, 8 was at the farm in Connecticut. I didn't even know

9 this is awesome, this Is great, but we've got to get 9 he had a Wyoming address until much, much, later.
10 this thing thrown together. 10 And so it was April 28th, almost a month
11 And so we do the event on March 20th. We 11. after -- no, over a month after our first
12 get tremendous press from it. We even got covered in 12. communication and almost a month after we actually
13 the Casper Tribune. And two days later we get an 13. had his money in hand, that we went to lunch together
14 email at the info@tighar address. It come to my wife 14 in Providence, Rhode Island. I flew up on the
15 Pat; it didn't come to me. She forwarded it to me, 15. airline, he picked me up in his truck, he drove over
16 said a Mr. Mellon wants you to call him. 16 from the farm in Connecticut, and we talked about the
17 I said, all right, give me the phone number. 17 project, what we were going to do.
18 But he said it's easiest to catch him on the 18 But that's how all that happened.
19 weekend, and it's like a Wednesday, or something, 19 Q. Who paid for the Junch in Rhode Island?
20 whatever the 22nd was. And I think it was ona 20 A. I think Mr. Mellon did. I probably offered,
21 Saturday I called up, this is the first time I ever 21 but I don't remember.
22 talked to Mr. Mellon, and said, I understand that 22 Q. And he still -- what -- you're confident
23 you're looking -- you're interested in funding 23 ‘that that's the right date?
24 opportunity for the Earhart Project. 24 A. Oh, yeah.
25 Yes. 25 Q. And do you have your airline ticket for

110 112

1 I believe at that time he said and I'd be 1 that?

2 interested in participating in the expedition. 2 A. I'm sure we have those records, sure, yeah.

3 I said, well, you understand that that's 3 Q. And what else makes you confident that

4 what we call a sponsor team member and it usually 4 that's the right date, the Apri! 18th (sic) date?

5 involves a substantial contribution. 5 A. Well, I mean, it has been part of the --

6 I get calls from people all the time wanting 6 especially ever since the Complaint was filed, it's

7 to go look for Amelia Earhart, wanting to volunteer, 7 --iIt's a -- it's rather an amazing thing and worth

8 make a contribution, go on the expedition. 8 talking about when things come up In conversation.

9 It usually requires a substantial 9 You got a million dollar contribution?
10. contribution. What amount did you have in mind? 10 Yeah.
11 Well, what's your budget? 11 Wow, what did you have to do to get that?
12 I said, well, right now it's looking like 12 Not much.
13. about $2 million. 13 You know, we didn't ask for it, we didn't
14 I'd do half. 14 solicit it. Somebody we never -- this never happens
15 You know, my jaw hit the floor. And from 15 tous. People who make large contributions to TIGHAR
16 that point on I was, okay, all right, I can at least 16 projects are people who have been associated with us,
17. send him some information. So T wrote him the letter 17 usually for years, have often been to field school or
18 that we now have that's an exhibit, I sent him all 18 to other TIGHAR events. You don't build that kind of
19 the information I could think of, and within eight 19 confidence with people unless they've been exposed to
20 = days we had -- on March 30th we had stock that we 20 you for awhile. So when somebody gives you more
21 ~=could sell. 21. money than any individual has ever given you before,
22 And we were ~-- I was trying -- I need to 22 and does it like snapping their fingers, within eight
23 meet the guy in person, he's a sponsor team member, 23 days of them coming out of the woodwork, you've never
24 he wants to go on the trip, I have to meet him in 24 heard of them, you talk about that. I didn't even
25 person, who am I dealing with here? And we thought 25 lay eyes on the guy until almost a month after his

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113 115
4 money was in our account. I mean, I -~ this is 1. do to help you find Amelia?
2 amazing. So when something that amazing happens, you 2 And I said, our forensic imaging guy has
3. talk about it. There's lots and lots -- it becomes 3 been working on this old photograph. He thinks he
4 part of the TIGHAR, what would you call it, our 4 sees something that is consistent with the wreckage
5 corporate -- I'm at a loss for words but, you know, 5 of the Earhart landing gear, and he's more -- he's
6 our -- the whole TIGHAR legacy, the whole story of 6 surer of that than anything I've ever known him to be
7 the quest, yeah. 7 sure about. I've worked with him for a long time.

& Q. The -- I asked you about underwater searches 8 But, you know, this has the potential of being really
9 conducted by TIGHAR, and you mentioned the 1991 9 huge, so I need a second opinion. I need an opinion
10 expedition. Were there any other underwater searches 10 from unimpeachable experts who don't have a dog in
11. after -- between 1991 and 2010? 11. ‘the fight. So I want U.S. Government photo analysts

12 A. No. No. 12 to look at this.
13 Q. Okay. 13 And he says, I think I can arrange that.
14 A. We could never afford it. 14 And he did.
15 Q. Okay. So as far as remote devices or 15 And I delivered the imagery to the Bureau of
16 equipment, that was the last time until 2010 that you 16 Intelligence Services. They had it for a number of
17 had utilized that? 17 months, called me in for a briefing, said we've looked
18 A. For underwater, yeah. We had scuba divers 18 at the imagery, we've done our own research, and we
19 in the water on several expeditions; but the whole 19 pretty much agree with your guy, this could very well
20 process was we can't afford to -- you -- to solve the 20 be Amelia -- a Lockheed Electra wreckage. We can't
21. Earhart mystery, you have to have a smoking gun. 21 say -- we can't confirm it. They said in our
22 You've got to have something. We call it the any 22 business there's possible, probable, and confirmed,
23 idiot artifact. It can't be complicated. It's got 23 and we're somewhere in the probable on this.
24 to be very simple. You have to be able to show it up 24 =I said, okay, can I quote you on this? Are you going
25 to the public, say look, any idiot can see what this 25 to give me a written report?
114 116
1 is. You can't do that with freckle cream jars and 1 He laughed. He said, if the guys IJ really
2. little artifacts down at the Seven Site. As 2. work for knew I was even working on this, I'd be in
3. convincing as those might be to an archeologist, the 3 trouble. He said no, this is something we did asa |
4 public wants something simple. And so we -- to -- 4 favor to the Assistant Secretary, he wanted us to’
5 that's going to be DNA or identifiable airplane 5 give you this information, so you can't talk about
6 wreckage. Something with a serial number, a part 6 this.
7 number, something that's incontrovertible -- 7 And it was Campbell himself who released the
8 incontrovertibly has to be from Earhart's airplane. 8 information later that -- he probably pissed off the
9 Well, searches -- there might be DNA on land 9 guys, the Intelligence guys, by talking about it.
10 if we can find bones, or even maybe contact DNA from 10 But yeah, that's -- and that's -- that's
11. touching something. And I can put a team of 15 11. what -- when Campbell knew that his own guys had
12. people on that island for three weeks for roughly 12. verified the Bevington object, that's what prompted
13 $300,000, so we can try to do that. And if we get -- 13 him to call me in and say, look, we want to have a
14 the objective being to build up enough good evidence, 14 big event. We want you to do this "this summer."
15 find enough stuff and find real evidence, build a 15. And it's not hard to figure out why they had to have
16 strong enough case so that we can then raise the 16 it done "this summer," because they knew they
17 money to do the expensive stuff and look for the 17 wouldn't be there the next summer. Because even if
18 airplane. That was always the plan. 18 Obama won the election, Clinton was going to step
19 And actually, as it turned out, it wasn't 19 down as Secretary of State, she was going to take all
20 all the other little stuff that we have found, as 20 her people with her, they are all Clinton employees,
21. «convincing as it is for us, it was the Bevington 21 so if this was going to happen, it had to happen on
22. photo that -- that -- that tipped the scales there. 22 ‘their watch and it had to happen that summer.
23 And it was the Bevington photo not because of what 23 Q. You said scuba divers had been used
24 Jeff Glickman said, it was because the Assistant 24 previously. How deep have you explored with scuba
25 Secretary of State Kurt Campbell asked me what can we 25 divers?

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117 119
1 A. We set rules that you don't go below a 1. he's got this great little ROV, and we can
2 hundred feet. And generally speaking, the teams have 2 = =probably get it cheap and we can do some underwater
3 respected that. In 1989 we hada bunch of cowboys 3 searches.
4 out there, and I found out later that a couple of 4 Well, you know, where are they? Well, sure,
5 them had gone to like 260 feet, which is insane. 5 why not, Let me talk to him.
6 They didn't tell me about it until I got back and 6 And I talk to Jesse. And I wasn't -- we're
7 reviewed the dive logs. There's no hyperbaric 7 not just going to rent your -- it's called the LBV,
8 chamber, there's no support out there, but -- and the 8 Little Benthic Vehicle. We're not just going to rent
9 reason they were going down there was to get black 9 your LBV because we don't know how to run it. We
10 coral, which is really valuable. They didn't go on 10 need somebody -- we made that mistake before. You
11. any more expeditions. But that's -- generally 11 take technology out there and try to learn to run it
12 speaking, we kept it to about a hundred feet. 12 on your own and do on-the-job training, and it just
13 Q. Why did you make the determination to use 13 doesn't work out well. So I said, we're going to
14 underwater vehicles in 2010? 14 need you to come along and fly the thing yourself.
15 A. SoTI met with Mike Kutzleb, my old buddy 15 Have you done underwater?
16 Mike, Look, we've got to search this reef, and we're 16 Oh, yeah, we do underwater searches all the
17 looking for airplane parts. And we were out there in 17 time. If it's there, man, I'll find it. This
18 2010, we had a little -- 18 vehicle is great.
19 Q. Let me clarify. I'm asking about 2010. 19 Good, T'll have John and Walt Holm work with
20 A. Oh, you're asking about 2010? 20 =you and they can help you handle tether and it will
21 Q. Yeah. 21 ~be fine.
22 A. I'msorry. 22 Q. Did he give you any examples of prior
23 Q. And the determination to -- 23 underwater searches that he had --
24 A. To use -- 24 A. Idon'tremember. He probably did. I would
25 Q. -- use an ROV -- 25 have to look back through.
118 120
1 A. Okay. 1 But we -- but I think the total cost of
2 Q. -- in 2010. 2 renting the thing -- and he would come along and not
3 A. Okay, all right. 3 charge us for his time to do it. If we rented the
4 We were putting together the 2010 trip. 4 vehicle, he'd come along and not charge us for his
5 There was -- the main focus of the 2010 trip was 5 time, we would just pay his airline expenses, and run
6 going to be working the Seven Site. 6 the vehicle for us. And it was like $32,000, or
7 (Mr. Mellon not present.) 7 something like that, ballpark, to do the whole thing.
8 MR. CARTER: Let’s go off the record for a 8 So here we have an affordable way to do some
9 second. 9 underwater search of the reef. Sure, why not? Good,
10° (Discussion off the record.) 10 And it turned out, as these things usually
11 (Mr. Mellon present.) 11. do, he gets out there -- he had two tethers with him,
12 BY MR. STUBSON: 12 a300-meter tether -- this is fiberoptic cable -- a
13 Q. Goon. What was the last question? 13 300-meter tether and a 150-meter tether. And he got
14 A. What made us decide to use remote vehicles 14 out there and within two days the 300-meter tether
15 in2010. 15 went bad, and so we're stuck with only searching to
16 Are we back on the record? 16 150 meters until the second week. We send word back,
17 Q. Yes. 17 hey, we've got a bad tether. Bring us another
18 A. Okay. Yeah, we were putting together this 18 tether. Because we've got the second boat coming out
19 expedition, and the primary focus was the Seven Site, 19 with Carty.
20 archaeology there. We looked at that site in 2001 20 So they bring us a second longer tether, so
21 and 2007 finding good stuff. We really wanted to 21 we were able to do some deeper work later in the
22 ~—srealily hit it in 2010. 22 «trip. And it was during that second episode of deep
23 And somebody, and I think it was Clauss, 23 ~=searching with the longer tether, I think it was, I
24 John Clauss, said hey, I've got a friend, Jesse 24 want to say, July 7th -- June 7th? Maybe June. It
25 Rodocker down at SeaBotix I've been talking to, and 25 was a May-June trip, so June 7th? Anyway, it was on

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121 123
1 the 7th that two things happened. They -- they ran 1 the acoustic ranging system; but the good news is
2 the cable for the ROV through the propeller of the 2 that we saw some manmade objects.
3 boat they were using, they were operating off of VvS1 3 What did you see?
4 at that time, and they damaged the system on the ROV 4 Well, there's a rope and what kind of looks
5 that tells the control station where the ROV is. 5 like a wire.
6 It's an acoustic ranging system. It sends out a ping 6 Okay.
7 that says I'm here, where are you? I'm here, where 7 And this is the first manmade stuff we'd
8 are you? Ping, ping, ping. Well, that system got 8 seen.
9 trashed. So at that point you send the ROV out, 9 All right, let's take a look at it.
10 you're watching it, what it's seeing in the video, 10 And we pulled it up on the monitor that
11. but-- and you know it's in the general direction, 11. evening on the ship. And the Discovery film crew was
12. but you don't know where it is. 12 there shooting this whole thing. As a matter fact,
13 Q. That acoustic ranging system, was that -- 13. they used that in the Discovery show, and it's --
14 could you get an exact location on the ROV based on 14 it's now on YouTube. That segment is also on the DVD
15 that? 15 that I sent Mr. Mellon after his first phone call.
16 A. Well, okay. It wasn't -- well, it turned 16 But anyway, so we're there looking at this
17 -outto be screwed up. Because later, after the 17 wire, this rope and wire. And the rope is rope, you
18 expedition, Jesse gave us a report of where they had 18 know. It's -- rope doesn't help us, because there's
19 searched. And the -- a little map with borders 19 no way to tell what kind of rope it is. But this
20 saying we covered this area to this depth. And he 20 wire thing is really kind of weird. It might be whip
21 ~+was using all the points from that acoustic ranging 21_~«coral, it might be wire. And the -- we're standing
22 system to determine that while it was still working. 22 there talking about it and --
23 And I looked at that and looked at what they 23 Q. And when you say "we," who is we?
24 were doing, and said something's wrong here. And I 24 A. Oh, Mark Smith, Jesse Rodocker, John Clauss,
25 communicated with Jesse. I says, your -- your 25 I think Art Carty was there. It's not hard to
122 124
41 program that you were using to translate the data 1 complete the list because you can watch the video of
2 from the acoustic ranging system to the physical 2 who's standing there with us looking at this thing.
3 plotting, there's something wrong. Because where you | 3 _ I've forgotten all the names of who happened to be
4 say you have a known data point here that's 4 there, but there was a gang of us standing around
5 specifically the propeller shaft of the Norwich City, 5 this. And we're looking at this and somebody asks
6 you Say it's here, and it's not here. It's up here. 6 the question, well, is it worth recovery? Should we
7 Sosomething's messed up. 7 go back after it?
8 And he looked into it and he under- -- he 8 And I stood there, and this is on the tape,
9 eventually -- ended up meeting with the software 9 I said, let’s go get it. We need to find it.
10 programmer for that system in the UK, and yeah, 10 All right, tomorrow we will go relocate it
11 there's a problem with it. It screwed up. 11. and find it.
12 Q. And your determination that it was -- it 12 But they couldn't because -- they tried,
13. wasn't accurate, even when it was working, that was 13 they tried and tried, and they couldn't re-find the
14 made after the -- 14 thing.
15 A. Yeah, that was made after the trip. It was 15 Totally opposite from Mr. Mellon's
16 like several months after as I was going back through 16 impression, that he said it blew his mind that we
17 and reviewing all the data that we collected. 17. didn't go look for it. We absolutely did go look for
18 But while we were out there -- so it was on 18 it. It's right on the tape that I said let's go get
19 the same day that the ranging system got trashed that |19 it. We wanted to know what that thing was.
20 the now infamous wire and rope video was shot. AndI | 20 Q. What information on the location of the ROV
21 wasn't aboard VvS1 when that happened. I was onthe | 21 did you did you have at the time that it came across
22 island. I was gone to the Seven Site probably taking 22 «the --
23 anap. And we got back at the end of the day and, 23 A. Well, we knew where VvS1. was from the GPS
24 hey, how did it go with the ROV? 24 . aboard VvSi1, and we know -- we know how long the
25 Well, the bad news is that it's -- we lost 25 cable was, and we know the ROV is out there. That's

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1 about it. 1. Project Advisory Committee?
2 Q. But do you know -- I mean, do you know 2 A. Oh, back on one of the original forums, the
3. whether it was at the -- at what depth? 3. listserv forum, which was open to anybody who wanted
4 A. Depth? 4 to participate, there were a number of people, just
5 Q. Depth. 5 watching postings, that impressed me with their
6 A. Depth information we've got, because there's 6 credentials or their acumen or -~ just sharp people.
7 depth information on the heads-up display of the 7 And TI decided that to cut through a lot of the dumb
8 standard definition video. So yeah, assuming the 8 chatter on -- and move the research forward, I would
9 depth information is accurate, you know, we know the 9 handpick, I'd like you to be part of this council,
10 depth. 10 I'd like you, you, and we started building this
11 Q. Do you know whether the depth information 11. separate group. And we would have -- and we called
12 was accurate? 12. it the Earhart Project Advisory Council, EPAK.
13 A. Ihave no way of knowing whether it's 13 And we would occasionally have physical
14 accurate. 14 meetings, and they all got along great together, and
15 Q. And the rest of the information you got was 15 it became really quite a good -- great research
16 inaccurate? 16 group. Boy, they could -- you'd like -- you'd send
17 A. Yeah. 17 them a task and they would go out -- you'd say, I
18 Q. The -- and so I understand how you may have 18 need to know what women's compacts in the 1930s
19 an idea kind on the outside edge the range of the 19 looked like, which ones had a quarter-inch bevel on
20 ‘tether, but could you tell how far out that tether is 20 the glass in the mirror, and they would go out and
21 ~~ at the -- 21 they would go on eBay and they would contact groups
22 A. Well, if -- if you have depth information 22 that collect compacts, and they would come back and
23 and you have goed information about how the reef 23 ~=help us identify artifacts. Just a tremendously
24 slope goes, then you have some idea of how far out 24 powerful group.
25 fromthe reef edge you must be if you're that deep. 25 But little bit by little bit it was replaced
126 128
1 But it's all pretty fuzzy. 1. by the current online forum, and it -- it kind of
2 Q. How long did they look for it the next day? 2 withered away as the current online forum grew in
3 A. I'd have to look at the notes, the notes are 3 capability.
4 in the stuff we submitted with discovery, but at 4 Q. At what point did it cease to exist?
5 least a couple hours, and maybe more. It was the 5 A. Well, this would have been in the -- the old
6 only thing we had seen out there that was vaguely 6 EPAC kind of withered away I want to say in the
7 interesting. And believe me, we took that -- that -- 7 spring of 2012, because there was a big dispute
8 the rope was the first thing in that clip, and we 8 between me and Tom King about whether we should be
9 watched that clip, so -~ you can see the 9 looking for the airplane. Here we've got this, hey,
10 wire-maybe-thing, and everybody, including Jesse 10 we're going to go search for this airplane, a big --
11 Rodocker, John Clauss, me, everybody out there is 11. avery high-profile thing.
12 peering at this stuff. And we'd been watching other 12 And Tom is saying, oh, man, this is a huge
13 video taken underwater for the last week, and nothing 13. mistake. We shouldn't be doing this.
14 looked any different to us. And when you get to the 14 And he's posted on his private blog that we
15 wire, yeah, let's go get that. I wanted that damn 15 shouldn't be doing it.
16 wire, but we couldn't get it. 16 Oh, God, we've got a board member posting
17 Q. So other than price, other than being able 17 that we shouldn't be doing this at all. Oh, shit.
18 to get this ROV at a pretty decent price, what else 18 And Tom and I have fought for years and
19 factored into your decision to actually utilize an 19 years. And what he does is try to gather followers
20 underwater -- underwater exploration in 2010? 20 and then I get an email, several of us feel that --
21 A. We'd been wanting to do underwater 21 You know, come on, we're not going to -- if
22 exploration for a long time, and this was the first 22 = -- they can speak for themselves.
23 =time we had something that was at a price we could 23 Just the usual in-fighting you get with any
24 afford. So why not? Give it a shot. 24 group. And the old EPAC kind of dissolved in that
25 Q. Sort of as an aside, what's the Earhart 25 kind of nonsense.

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1 onyour work? 1 And we started negotiating, and to make a
2 And I worked with them and we put together a 2  six-month-long story short, they ended up paying us
3 piece that they put out on their website. And that 3 $500,000 for the license, which was a big chunk of
4 piece got more hits than they had ever gotten on any 4 that expedition.
5 story on their website ever. And when they saw that, 5 And they ended up producing a two-hour show
6 they handed that to their TV production department 6 thatis, I think, really quite good. And it used a
7 and said, you know, this is something you might want 7 Jot of our old footage. Of course, we had a period
8 to pay attention to. 8 of exclusivity where we couldn't work with anybody
9 So then I got a call from Discovery 9 else on a television show for some period of time
10 television saying, hey, we'd like to talk to you guys 10 after that.
11. about a documentary. 11 Q. Do you remember how long that was?
12 We've been trying to get your attention for 12 A. Yeah, I do, because we got it renewed. They
13 some time. 13. also did the same deal on the 2012 trip, although for
14  Q. About, approximately, when was this phone 14 nothing like that amount of money. They paid
15 call? 15 $100,000 for the rights in 2012, plus they made a
16 A. This would be in the summer of 2009. 16 $100,000 straight contribution to TIGHAR. So we got
17 Q. Okay. 17 a total of $200,000 from them for that. But we
18 A. And yeah, we'd like to talk about a 18 extended the original contract, It expires April
19 documentary. 19 11th of this year, ten days from now. And then
20 So we set up a meeting in Silver Hill (sic), 20 that's when this exclusivity period ends. So we'll
21 Maryland, where Discovery Communications’ 21 ~+be free to discuss and make deals with other media
22 headquarters is, with their head of -- head of 22 about our other expedition if anybody wants to do
23 specials. Christine Weber is her name. And I was 23 ~=«that.
24 there, I think Mr, Carter was there, and we went to 24 Q. What do you -- as far as when you do
25 lunch and we talked about the expedition we were 25 fund-raising, do you look for a certain percentage of
142 144
1 planning, and the show -- what kind show they might 1 that from sponsorships, or just as much as you can
2 be interested in doing. 2 get? I mean, do you have a breakdown on what your
3 And they said, well, the show we want to do 3. target is as far as your fund-raising on --
4 is not just about this expedition, but about TIGHAR’s 4 A. No, we -- we decide what's it going to cost
5 entire quest for Amelia Earhart. Do you have footage 5 -- we -- we use a build-it-and-they-will-come
6 that we can use in this? 6 philosophy. We build the expedition we feel needs to
7 Yeah, we've been taking video going back to 7 be done, and then we figure out how much that's going
8 our very first trip. We've got lots and lots of 8 to cost, and then we make known to the public what we
9 videotapes. Some of it's amateur shots, some of it's 9 wantto do, how we want to do it, and how much it's
10 professional shots, but the whole thing is 10 going to cost, and we're not going to be able to do
11. documented. 11. it if we don't raise the money. And then we usually
12 Okay, well, we want some of those. 12 stand by and let people come to us. I have found
13 Well, how long? Are you talking about a 13 repeatedly that just trying to identify wealthy
14. one-hour show or a segment of a one-hour show or 14 companies or people who don't have any known
15 maybe a longer show? 15 particular interest in this and just going through a
16 The more we talked, Chris Weber said, I 16 cold call and saying, hey, we're going to go look for
17. think we're looking at a two-hour special. 17 Amelia Earhart, do you want to send us money, that
18 That's a lot of footage, and you'd need to 18 doesn't work.
19 license that footage from us. 19 Q. You've tried that method, though, before?
20 They said, yeah, we understand that. 20 A. Years ago I--I spent a lot of time writing
21 Okay. 21 + + proposals to companies I never heard from, back from.
22 So we suggested that they give us a proposal 22 But what we found is that if you make the need known,
23 for exclusive media coverage, and they did. And they 23 if you have a good reputation, people look into it
24 wanted to pay us I think $65,000, and we said no, I 24 and say these guys seem like the real deal, and
25 think it's got to be worth a little more than that. 25 people come to you and say, you know, I might like

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1 to help out, and we talk about it and put it 1 discussion with Discovery about using Mark Smith. We
2 together. 2 = -- we have a contract with Mark Smith that he gets
3 Q. And so the publicity aspect of putting out 3. the exclusive use of TIGHAR video resources for the
4 that you're going to do in an expedition and what you 4 production of documentaries, and that any -- and any
5 intend to do, that's a big apart of your 5 filming of TIGHAR activity for television will be
6 fund-raising? 6 done by 07 Films. And when -- when we were cutting
7 A. It's huge, right. 7 our deal with Discovery, they wanted to use their own
8 Q. And you really depend upon that and count on 8 production company to shoot video, and we said no,
9 that for bringing donors to you? 9 we've got to use Mark. We have a contract with Mark,
10 A. Yeah, we do. 10 we have to honor our contract. We've got to use
11 Q.. And you intend for donors to rely upon those 11. Mark. And we negotiated a compromise where we used
12 statements that you're making in the public 12. Mark -- they used Mark as one of their photographers,
13 announcements and that publicity? 13. but they also had their own cameraman aboard, also.
14 A. Of course. 14. But -- so Mark was very much a part of the planning
15 Q. The -- other than Discovery, who else did 15 for that expedition, and that's why Mark and
16 you talk to about sponsoring the 2010 expedition? 16 Stephanie were there at the board meeting.
17 A. The 2010 expedition? Well, of course, the 17 Q. Okay. And if you look at the second page of
18 board members are major contributors. 18 those minutes -- and by the way, who keeps the
19 Q. And jet me back up. One question I didn't 19 meeting minutes?
20 ask, how -- do you remember how much your budget was 20 A. My wife.
21° for 2010? 21 Q. Okay. And do you -- is it your standard
22 A. No. I would have to go back and check, but 22 = practice to review those and have those approved at
23 =it was -- it was pushing a million dollars, yeah. 23 =the following board meeting?
24 Q. In that area? 24 A. Absolutely.
25 A. In that -- that general area, yeah. Yeah. 25 Q. And so these would have been --
146 148
1 Q.. Okay. Anybody else other than sponsors and 1 A. Yeah.
2 Discovery that you were -- 2 Q. -- the minutes, then, that would have been
3 A. Well, as I recall, as part of our 3 subsequently approved by the board?
4 disclosures there was like a request for a whole list 4 A. Yes.
5 of sponsors, and I think we gave you all that. I 5 Q. Looking at that -- under, it says, Niku VI
6 don't remember it, but -- I don't remember the 6 Expedition --
7 amount, but I know you have that information. 7 A. Yeah.
8 Q. "Was -- was Discovery responsible for the 8 Q.  -- do you see that paragraph?
9 biggest share of the funding of that? 9 A. Yeah.
10 A. The biggest single chunk, oh, yeah. 10 Q. And there's a sentence there that says:
11 Q. I'm going to hand you what's been marked as 11 Completing the funding for the expedition relies upon -
12 Deposition Exhibit Number 27. Do you recognize that 12 a successful and lucrative contract with Discovery.
13 document? 13 Do you see that?
14 A. Uh-huh. 14 A. Yes.
15 Q. And what is that? 15 Q. And that was accurate?
16 A. It looks like the minutes of our February 16 A. Yeah.
17 19, 2010 board meeting. 17 Q. And without -- is it fair to say that
18 Q. Okay. And I note that also attending that 18 without getting Discovery on board at that time, you
19 were Mark Smith and Stephanie Daniels of -- 19 wouldn't have been able to do an expedition?
20 A. Yes. 20 A. Probably not. .
21 Q. -- 07 Films; is that correct? 21 Q. Mr. Gillespie, I'm handing you Deposition
22 A. Stephanie is Mark's wife, yeah. 22 = Exhibit Number 28 --
23 Q. Okay. Okay. And why were they attending 23 A. Uh-huh.
24 = the meeting? 24 Q. -- and ask you if you recognize that
25 A. Because we were going to -- there wasabig | 25 document?

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1 Q. Okay. They were relying on you guys to do 1 A. Yeah, I think on one of the early artifact
2 that? 2. inventories there's a -- there is some mention of
3 A. Yeah. 3. that. I would have to dig back through and check.
4 Q. Okay. Was there anybody else during the 4 Q. How long back do you think that would have
5 2010 expedition that would have had contractual 5 been?
6 rights to the results of the expedition other than 6 A. Well, I think it goes back to either '89 or
7 Discovery? 7 ‘91. Certainly, early on in the project. Because
8 A. No. 8 you just can't go onto somebody else's island and
9 Q. Do you -- for Earhart artifacts, do you have 9 take stuff. I mean, we -- we always have a Kiribati
10 any arrangement right now with a museum, or anybody 10 representative with us aboard the boat, and we work
11. else, on how to display artifacts when they are 11. very closely, and always have, with the Kiribati
12 found? 12 government.
13 A. We have an understanding with the Republic 13 MR. STUBSON: And Mr. Masterson and
14. of Kiribati that in conducting our research within 14 Mr. Carter, I'll try to remember to follow up in
15 the borders of Kiribati, that we can collect anything 15 writing, but that's something that we would like to
16 that we find interesting for research purposes, but 16 have you produce as part of discovery, and I mean the
17 _ it's still owned by Kiribati and its ultimate 17 written understanding with Kiribati.
18 disposition is up to Kiribati. We can make 18 MR. CARTER: Okay.
19 recommendations, but it's -- it's their stuff and 19 MR: MASTERSON: We'll try to remember it,
20 they get to say what happens to it. 20 too.
21 Q. And that agreement was not in place in 2010, 21 (Request. )
22 ~~ correct? 22 BY MR. STUBSON:
23 A. No, that -- that -- that understanding has 23 Q. So other than that, the arrangement with
24 beenin place since 1989, The agreement that was 24 «Kiribati, any other agreements you have with museums,
25 signed March 20th, 2012 was the agreement between 25 foundations, anybody else?
154 156
1 TIGHAR and the Republic of Kiribati that makes us 1 A. No.
2. their exclusive agent for investigations of the 2 Q. Okay. And then you mentioned you had -- so
3. Earhart disappearance within the national borders of 3 as we talk about the 2010 expedition, you had
4 Kiribati. That's something we did to protect the 4 SeaBotix on --
5 site, so that as -- as our information and evidence 5 A. Uh-huh.
6 built and there was more and more acceptance that 6 Q. -- as a contractor?
7 this may, in fact, be what happened to Amelia 7 And that's a yes?
8 Earhart, we were very concerned and felt -- and 8 A. Yes, I'm sorry,
9 especially concerned in the event that we did make a 9 Q. And what -- obviously, the boats were --
10 discovery. , 10 were they crewed by independent --
11 And Discovery, under their contract they 11 A. Yes. The boats -- each boat was crewed by
12 say, yeah, it's there and here's the pictures of it, 12 independents. The -- the primary expedition ship,
13 and then when you leave and you worry about pirates. 13 Nai’a -- which is N AI, apostrophe, A -- was what
14 I mean, there's a perception, and I think it's a 14 was crewed by a Fijian crew. The owners are American
15 correct one, that the actual wreckage of the Earhart 15 expats living in Australia and Fiji, but the boat's
16 aircraft and, say, a traveling museum display, is 16 crew was Fijian, it was all Fijian for that trip.
17 worth a lot of money. And we pointed out to Kiribati 17 And VvS1, the second boat, was out of
18 it's worth a lot of money to you guys, and you're a 18 New Zealand, New Zealand or Australia, but that --
19 country that desperately needs money, and we wantto |19 they had a New Zealand crew.
20 help you with that. We want to protect the site and 20 Q. Okay. The -- any other contractors you were
21. we want to share with you in that putting together a 21 working with for 2010? .
22. traveling exhibit, if and when we have a conclusive 22 A. Oh, well, contractors, we had -- there was a
23 answer to the mystery. 23 desire to deploy ground-penetrating radar at the
24 Q. The understanding that you say goes back to 24 Seven Site, the castaway camp site. And we brought
25 1989, is that in writing anywhere? 25 along a young man who worked for the University of

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1. Maryland, and they used ground-penetrating radar to 1 A. Yes.

2 track the tree root systems of trees on campus. And 2 Q.  -- in this operation?

3 we wanted to see if we could use ground-penetrating 3 Who was that?

4 radar to find any graves or bones or artifacts, or 4 A. John Clauss and Walt Holm.

5 anything, at the Seven Site. So we had a contract 5 Q. Okay. And were they -- at the times the ROV

6 with the owner of the ground-penetrating radar, 6 was being utilized, then, were they active and

7 TreeRadar, Incorporated, I think it was, and this 7 involved in --

8 young man came along as the ground-penetrating radar 8 A. Yes, they were.

9 operator. So you could call that a contract with a 9 Q.  -- that process?
10 specialist, yeah. 10 And was their -- what were their jobs?
11 Q. And what was that person's name? 11 A. Mostly, they were -- with an ROV you've got
12 A. We called him Radar. It really pissed him 12 this tether that has to be played out. And
13. off. I'm trying to think of his real name. It's’ 13 typically, Jesse would sit there flying the ROV.
14 ‘terrible, I can't remember his name. We just called 14 He's watching the video screen which is showing him a
15 him Radar. 15 feed of what the ROV is seeing. And that is also
16 Q. And this was a contractor whose experience 16 being taped aboard -- well, taped. I'm not sure if
17 primarily was in finding tree roots? 17 it's taped aboard the ROV or taped on the surface,
18 A. Yeah. Yeah. Nobody had ever -- as far as 18 but it was being taped.
19 we could determine, had ever used ground-penetrating | 19 So Jesse's doing that, and Walt and John are
20 ~=radar in a coral reef -- or not coral reef, but a 20 handling this big, long awkward tether and trying to
21 ~=coral rubble environment. And it turns out it just 21 +keep it away from the propellers of the ship, which
22 doesn't work well in a coral reef environment. It 22 didn't happen. But that's their job, to manhandle
23 was a total bust. 23 things. And when they're not involved in that,
24 Q. Now, we talked a little bit about use of the 24 they're looking over Jesse's shoulder and watching
25 ROV. And my understanding from your prior testimony 25 «the video, too.

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1. is that Jesse Rodocker was essentially the pilot -- 1 Q. And that video, as you've said, Jesse has a

2 A. Uh-huh. 2 screen in front of him?

3 Q. ~ of the ROV? 3 A. Uh-huh.

4 A. Yes, he was. 4 Q. And there were two kinds of video on the --

5 Q. And did he operate from both the ships 5 onthe ROV --

6 involved in this expedition? 6, A. Yeah.

7 A. Yeah. Yes, he did. He started out 7 QQ. -- correct?

8 operating off Nai’a. But Nai'a is a single screw, 8 A. Yeah, he had two screens there. The

9 single propeller ship, and to deploy ROVs without ‘9 standard definition video, which the resolution isn't
10 what's called dynamic positioning where you can just 10 great, and I think it's black and white, also, but it
11. dial in along the ship hold's position -- see, if 11. has depth and heading information on it and time
12 you're just putting the ROV over the side, it's 12 information on it, superimposed on the screen.
13. called live boating. Live boating. And you really 13 The high definition camera doesn't have any
14 need avery maneuverable ship to do that accurately. 14 -of that information on it, but it's a colored
15 Well, Nai‘a, for all her virtues, is not a really 15 picture, much, much better resolution.
16 maneuverable ship. [It was a single screw and a sail, 16 Q. And he had both of those available?
17. and so forth. 17 A. He had both, sure.
18 So after several frustrating days, when the 18 Q. And -- and when -- so my understanding from
19 second ship showed up, VvS1 had twin screws, much 19 your testimony, then, is when Mr. Clauss and Mr. Holm
20 more maneuverable, so we moved, at Jesse's 20 were not working on the tether, they would be sitting
21 recommendation, the ROV ops over to the -- over to 21. with him watching that?
22 VvSi1. And that's where they remained for the rest of 22 A. Sure.
23 =the expedition. 23 Q. And who was deciding where the ROV was
24 Q. Was anybody from TIGHAR tasked with helping 24 actually going to go?
25 Mr. Rodocker -- 25 A. Jesse,

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1 A. Yes. 1 legitimate researcher who is going to follow good
2 Q. And the -- did you have an understanding 2. scientific principles, we have no problem with you
3. that Kiribati owned whatever artifacts may be either 3. doing that, and we will recommend to Kiribati that
4 on the island -- 4 you be given the PIPA permit to go to Nikumaroro.
5 A. Absolutely. 5 But we're purely in an advisory capacity
6 QQ. -- or off the island? 6 here; but anybody who wants to do research has to
7 A. You know, we've always said that. 7 come through us for our recommendation to Kiribati as
8 Q. Okay. And so if you discover those, do you, 8 to whether you should be allowed to do that.
9 as TIGHAR, do you believe, have any rights at all to 9 Q. And have you given. permission to anybody to
10 the -- 10 do that?
11 A. No. 11 A. There was a tourist group out of Samoa that
12 Q. And you entered into an agreement with 12 wanted to go there last year. And we looked at it
13 Kiribati in 2011? 13 and said, yeah, it's not a problem.
14 A. That's correct. 14 Q. Were they doing any searching?
15 Q. And did that -- 15 A. They weren't doing any searching. We
16 A. No, it's 2012; March 20, 2012. 16 decided they were harmless.
17 Q. Okay. And did that change the terms at all 17 Q. There's been no competing --
18 under which you were operating? 18 A. No.
19 A. Well, it gave -- it made us the exclusive 19 Q.  -- searchers that have asked for --
20 agent for the Republic of Kiribati for any 20 A. No.
21 ‘investigation of the Earhart disappearance within the 21 Q.  -- permission?
22 ~borders of Kiribati, but it didn't convey any 22 A. No.
23 ownership or rights to the artifact te us. There's 23 Q. And then prior to the agreement in 2012, was
24 language in there about how, if -- if we -- if TIGHAR 24 ~~ it the case that anybody could go out and !ook for
25 recommends that Kiribati exhibit, try and monetize 25 it?
222 224
1 these artifacts, that we would work with Kiribati-to 1 A. Well, anybody would have to have a PIPA
2 work out an agreement where we would manage that for 2 permit to go into the Phoenix Islands Protected Area,
3. them and have an equitable share in revenue that that 3. and jump through all the hoops that we went through.
4 might generate. But in terms of ownership, it's 4 But if somebody wanted to do that, to go and dig
5 still Kiribati's stuff. 5 around for Earhart stuff on the island, some amateur
6 Q. Okay. And that arrangement for revenue 6 group, yeah, there were no controls over it at all.
7 sharing did not exist prior to 2012? 7 Our greater concern was that if we get out
8 A. It still doesn't exist. What -- all -- all 8 there and find some conclusive evidence, then this
9 the agreement does is say that if there's conclusive 9 site will really need to be protected. And there's
10 evidence, if we reach a point in all this where it 10 no good way to protect it. It's a very remote
11. would appear to be reasonable to put together a 11. location. But at least you can have a law signed
412 museum display with these artifacts, that we would -- 12 where you can say no, you can't go in there and do
13 the next step would be to work out an agreement with 13 this.
14 Kiribati for revenue sharing. But there is no 14 Q. If you would have found something in the
15 agreement right now. 15 2010 expedition and Discovery would have exercised
16 Q. So when you talk about being the exclusive 16 their right to publicize that finding, there -- would
17 agent for Kiribati for purposes of looking for 17 TIGHAR have had any way of preventing folks from
18 Earhart artifacts, what does that mean? 18 going out there and doing their own expedition?
19 A. That means that if you want to go look for 19 A. We don't have any physical way of protecting
20 Amelia Earhart in Kiribati, you have to get 20 the site, no.
21 permission from TIGHAR. Well, more specifically, you 21 Q. But you have -- you currently have legal
22 have to come to TIGHAR and say I want to do this. 22 right, correct?
‘| 23 And we will say to you, what is it you want 23 A. We have -- yeah.
24 todo and what are your qualifications to do it? 24 Q. And you did not have that in 2010?
25 And if we decide that you are a good, 25 A. In 2010, no.

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